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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

RIMOWA GMBH,
                                                       Case No. 19-cv-02697
               Plaintiff,

v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.


                                         COMPLAINT

       Plaintiff Rimowa GmbH (“Rimowa”) hereby brings the present action against the

Partnerships and Unincorporated Associations identified on Schedule A attached hereto

(collectively, “Defendants”) and alleges as follows:

                               I. JURISDICTION AND VENUE

       1.      This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Lanham Act, 15 U.S.C. § 1051, et seq., 28 U.S.C. § 1338(a)-(b)

and 28 U.S.C. § 1331. This Court has jurisdiction over the claims in this action that arise under

the laws of the State of Illinois pursuant to 28 U.S.C. § 1367(a), because the state law claims are

so related to the federal claims that they form part of the same case or controversy and derive

from a common nucleus of operative facts.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets business activities toward consumers in the United States, including Illinois, through at

least the fully interactive, commercial Internet stores operating under the Defendant Domain
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Names and/or the Online Marketplace Accounts identified in Schedule A attached hereto

(collectively, the “Defendant Internet Stores”). Specifically, Defendants are reaching out to do

business with Illinois residents by operating one or more commercial, interactive Defendant

Internet Stores through which Illinois residents can purchase products using counterfeit versions

of Rimowa’s trademarks. Each of the Defendants has targeted sales from Illinois residents by

operating online stores that offer shipping to the United States, including Illinois, accept payment

in U.S. dollars and, on information and belief, has sold products using counterfeit versions of

Rimowa’s trademarks to residents of Illinois. Each of the Defendants is committing tortious acts

in Illinois, is engaging in interstate commerce, and has wrongfully caused Rimowa substantial

injury in the State of Illinois.

                                      II. INTRODUCTION

        3.      This action has been filed by Rimowa to combat online counterfeiters who trade

upon Rimowa’s reputation and goodwill by selling and/or offering for sale luggage and other

travel accessories using counterfeit versions of Rimowa’s federally registered trademarks

(collectively, the “Counterfeit Rimowa Products”).        The Defendants create the Defendant

Internet Stores by the dozen and design them to appear to be selling genuine Rimowa products,

while actually selling Counterfeit Rimowa Products to unknowing consumers. The Defendant

Internet Stores share unique identifiers, such as design elements and similarities of the

counterfeit products offered for sale, establishing a logical relationship between them and

suggesting that Defendants’ counterfeiting operation arises out of the same transaction,

occurrence, or series of transactions or occurrences. Defendants attempt to avoid liability by

going to great lengths to conceal both their identities and the full scope and interworking of their

counterfeiting operation.      Rimowa is forced to file these actions to combat Defendants’



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counterfeiting of its registered trademarks, as well as to protect unknowing consumers from

purchasing Counterfeit Rimowa Products over the Internet. Rimowa has been and continues to

be irreparably damaged through consumer confusion, dilution, and tarnishment of its valuable

trademarks as a result of Defendants’ actions and seeks injunctive and monetary relief.

                                           III. THE PARTIES

Plaintiff

       4.      Rimowa is organized and existing under the laws of Germany with its principal

place of business in Cologne, Germany.

       5.      Rimowa is a world-famous, well-known manufacturer of cases made from

aluminum and high-tech material polycarbonate. Rimowa is famous for its luggage with the

iconic groove design, which is to a large extent still produced in Germany. With a history

stretching back 120 years, to Rimowa, “Made in Germany” and “German Engineering” are

synonymous with outstanding materials, brilliant technology and extraordinary product design,

crafted to the highest possible quality.

       6.      Rimowa is engaged in the manufacture, sale and distribution of the exceptional

luggage, cases and travel accessories sold throughout the United States (collectively, the

“Rimowa Products”), all of which prominently display its famous internationally-recognized and

federally registered trademarks, including RIMOWA,                    , and the following three-

dimensional trademarks for groove design products:




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       7.      The Rimowa trademark enjoys well-known trademark status in many jurisdictions

of the world, inter alia, attested by the Taiwanese Trademark Office (TIPO) as well as by the

KOREAN Trademark Office (KIPO).

       8.      Rimowa launched the groove design as early as 1950 and since then, the groove

design has been strongly associated with Rimowa Products. The iconic design is also attested by

the Design Museum London showing a Rimowa suitcase as part of its “Designer Maker User”

collection. Additionally, Forbes has called Rimowa’s suitcase as “its iconic aluminum suitcase,”

and designboom magazine referred to Rimowa’s “iconic aluminum design” and its “famously

grooved design.” Exhibit 1 attached hereto are true and correct copies of these articles.

       9.      Rimowa Products are distributed and sold to customers through retailers

throughout the United States, including in its own operated Rimowa stores in prime locations

(e.g., Madison Avenue in New York, New York, Newbury Street in Boston, Massachusetts, the

Miami DESIGN DESTRICT in Miami, Florida, etc.), pop-up stores in Beverly Hills, California

and Aspen, Colorado, and in high-quality department stores such as Macy’s, Barneys,

Bloomingdale’s, Nordstrom, Neiman Marcus, and Saks Fifth Avenue. Rimowa is also known

for its exceptional client care services. In cooperation with select five-star hotels, such as the

Ritz Carlton, The Four Seasons, the Mandarin Oriental, Rimowa offers consumers a free suitcase

repair service up to their departure.

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       10.    Rimowa’s 120-year history is characterized by an arduous quality standard,

exceptional product design, technical innovations, and a unique, well-known trade dress. Among

the purchasing public, genuine Rimowa Products are instantly recognizable as such.

       11.    Rimowa incorporates a variety of distinctive marks in the design of its various

Rimowa Products. As a result of its long-standing use, Rimowa owns common law trademark

rights in its trademarks. Rimowa has also registered its trademarks with the United States Patent

and Trademark Office. Rimowa Products typically include at least one of Rimowa’s registered

trademarks. Often several Rimowa marks are displayed on a single product. Rimowa uses its

trademarks in connection with the marketing of its Rimowa Products, including the following

marks which are collectively referred to as the “Rimowa Trademarks.”

REGISTRATION            REGISTERED           REGISTRATION         INTERNATIONAL
   NUMBER               TRADEMARK                 DATE                CLASSES
4,616,001                RIMOWA              Oct. 7, 2014 For: Key-operated metal locks;
                                                          metal padlocks; metal
                                                          combination locks; metal locks
                                                          for pieces of baggage; metal tool
                                                          chests sold empty; metal
                                                          containers for the storage and
                                                          transportation of goods in class
                                                          006.

                                                                For: Notebook computer and
                                                                laptop carrying cases, photo
                                                                equipment cases made of metal,
                                                                plastics and/or tissue material or
                                                                a combination of the
                                                                aforementioned materials; cases
                                                                for portable computers; photo
                                                                equipment bags; protective
                                                                covers for electronic devices in
                                                                class 009.

                                                                For: Jewelry cases; key pendants
                                                                being jewelry; clocks; watches;
                                                                decorative containers made of
                                                                precious metal in class 014.

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                                                 For: Specially adapted bags or
                                                 baggage-type containers for
                                                 musical instruments, cases for
                                                 stringed instruments, namely,
                                                 guitars in class 015.

                                                 For: pen and pencil holders,
                                                 passport holders, stationery and
                                                 presentation folders; File folders
                                                 in class 016.

                                                 For: Trunks; travelling suitcases;
                                                 valises; travelling bags; trolley
                                                 suitcases; vanity cases sold
                                                 empty; document cases;
                                                 suitcases and parts thereof,
                                                 namely, valise handles,
                                                 telescope handles and wheels;
                                                 briefcases; knapsacks, billfolds;
                                                 wallets; wearable strap-on belt
                                                 pouches; leatherwear traveling
                                                 bag sets; garment bags for
                                                 travel; sports bags; wash bags
                                                 for carrying toiletries; toilet bags
                                                 for carrying toiletries; hip bags;
                                                 book bags; leather and imitation
                                                 leather; goods made from leather
                                                 and imitation leather, namely,
                                                 billfolds, wallets and baggage
                                                 belts; baggage tags; baggage
                                                 travel containers; umbrellas in
                                                 class 018.

                                                 For: Packaging containers made
                                                 of plastic in class 020.

                                                 For: Cradle containers for wine
                                                 bottles; containers for household
                                                 or kitchen purposes; thermally
                                                 insulated containers and vessels
                                                 for food or beverages in class
                                                 021.

                                                 For: Clothing, namely, T-shirts,
                                                 headwear and caps in class 025.

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                                                 For: Zipper devices; zippers;
                                                 zippers for bags in class 026.

                                                 For: Specially adapted bags or
                                                 baggage-type containers for
                                                 sports equipment; golf bags,
                                                 with or without wheels in class
                                                 028.

                                                 For: Cigar boxes; humidors in
                                                 class 034.

                                                 For: Business management;
                                                 business administration;
                                                 advertising; services of an
                                                 advertising agency; development
                                                 of advertising and marketing
                                                 concepts; publication of
                                                 publicity texts; organization of
                                                 exhibitions and trade fairs for
                                                 business and advertising
                                                 purposes; organizing and
                                                 conducting trade fairs for
                                                 commercial or advertising
                                                 purposes; market research and
                                                 market analysis; import-export
                                                 agencies; operation of flagship
                                                 retail stores, wholesale and retail
                                                 store services and online mail-
                                                 order services featuring leather
                                                 goods, namely, travelling
                                                 suitcases and valises, travelling
                                                 bags and hand-held bags,
                                                 knapsacks in class 035.

                                                 For: Maintenance and repair of
                                                 suitcases in class 037.

                                                 For: Providing online
                                                 publications, namely,
                                                 prospectuses in the field of
                                                 luggage and travel goods in
                                                 class 041.

                                                 For: Technical research and

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                                                       development in the field of
                                                       luggage development;
                                                       consultation in the field of
                                                       luggage development; design
                                                       services in the field of luggage
                                                       development in class 042.

                                                       For: Licensing of franchising
                                                       concepts in class 045.
1,529,438                              Mar. 14, 1989   For: photographic equipment
                                                       cases of aluminum or
                                                       acrylonitrile/butadine/styrene
                                                       plastic in class 009.

                                                       For: travelling cases and
                                                       suitcases, trunks, and cosmetic
                                                       cases sold empty, made of
                                                       aluminum or
                                                       acrylonitrile/butadine/styrene
                                                       plastic in class 018.
4,479,605             SALSA            Aug. 27, 2013   For: Cases for photographic
                                                       apparatus of metal or of plastics
                                                       or of fabric material or a
                                                       combination of the aforesaid
                                                       materials in class 009.

                                                       For: Travel and hand luggage, in
                                                       particular trunks and suitcases,
                                                       cosmetic cases sold empty,
                                                       attache cases (all made from
                                                       aluminum or plastic) travel bags,
                                                       hand bags, backpacks made of
                                                       textile in class 018.
4,434,656             TOPAS            Nov. 19, 2013   For: Cases for photographic
                                                       apparatus of metal or of plastics
                                                       or of fabric material or a
                                                       combination of the aforesaid
                                                       materials, cases for portable
                                                       computers, camera bags,
                                                       protective cases for electronic
                                                       devices, namely, tablet
                                                       computers, cell phones, netbook
                                                       computers, laptops, projectors
                                                       and calculators in class 009.

                                                       For: travel luggage, luggage

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                                                       boxes, in particular trunks and
                                                       suitcases, trunks, cosmetic cases
                                                       sold empty, attache cases,
                                                       suitcases, trolly cases and pilot
                                                       bags in the nature of luggage
                                                       with rolling wheels, all the
                                                       aforesaid goods being entirely or
                                                       partly of metal or plastics or
                                                       fabric material or a combination
                                                       of the aforesaid materials; and
                                                       pouches of textile, all purpose
                                                       carrying bags, handbags,
                                                       rucksacks of textile material,
                                                       holdalls, toiletry bags sold
                                                       empty, purses, travel cases,
                                                       traveling bags and trunks in
                                                       class 018.
4,548,851                              June 10, 2014   For: Cases for photographic
                                                       apparatus of metal or of plastics
                                                       or of fabric material or a
                                                       combination of the aforesaid
                                                       materials; carrying cases for
                                                       portable computers; Camera
                                                       bags, Protective cases for cell
                                                       phones, tablet computers and
                                                       laptops in class 009.

                                                       For: Travel luggage; Luggage,
                                                       namely, trunks and Suitcases;
                                                       Trunks; Cosmetic cases sold
                                                       empty; Attaché cases; Suitcases;
                                                       General purpose sport trolley
                                                       bags; Pilot bags, namely, travel
                                                       bags, all the aforesaid goods
                                                       being entirely or partly of metal
                                                       or plastics or fabric material or a
                                                       combination of the aforesaid
                                                       materials; pouches of textile;
                                                       Book bags; handbags; rucksacks
                                                       of textile material; holdalls;
                                                       toiletry bags sold empty; purses,
                                                       travel cases; traveling sets,
                                                       namely, leather toiletry bags
                                                       sold empty in class 018.




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3,949,886                                     Apr. 26, 2011     For: carrying cases for
                                                                photographic equipment in class
                                                                009.

                                                                For: luggage, traveling cases and
                                                                suitcases, trunks and briefcases
                                                                in class 018.



4,586,888                                     Aug. 19, 2014     For: Travelling suitcases,
                                                                valises, travelling bags, trolley
                                                                suitcases, travel baggage in class
                                                                018.




4,722,151                                     Apr. 21, 2015     For: Travel luggage being
                                                                entirely or partly of metal or
                                                                plastics or fabric material or a
                                                                combination of the aforesaid
                                                                materials; luggage, namely,
                                                                suitcases being entirely or partly
                                                                of metal or plastics or fabric
                                                                material or a combination of the
                                                                aforesaid materials; suitcases
                                                                being entirely or partly of metal
                                                                or plastics or fabric material or a
                                                                combination of the aforesaid
                                                                materials; pilot bags, namely,
                                                                travel bag suitcases being
                                                                entirely or partly of metal or
                                                                plastics or fabric material or a
                                                                combination of the aforesaid
                                                                materials in class 018.

       12.     The Rimowa Trademarks have been used exclusively and continuously in the

U.S. by Rimowa, and have never been abandoned. The above U.S. registrations for the Rimowa

Trademarks are valid, subsisting, in full force and effect, and some are incontestable pursuant to


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15 U.S.C. § 1065.     Attached hereto as Exhibit 2 are true and correct copies of the U.S.

Registration Certificates for the Rimowa Trademarks included in the above table.            The

registrations for the Rimowa Trademarks constitute prima facie evidence of their validity and of

Rimowa’s exclusive right to use the Rimowa Trademarks pursuant to 15 U.S.C. § 1057(b).

       13.    The Rimowa Trademarks are exclusive to Rimowa, and are displayed extensively

on Rimowa Products and in Rimowa’s marketing and promotional materials. Rimowa Products

have long been among the most famous and popular of their kind in the world and have been

extensively promoted and advertised at great expense. In fact, Rimowa has expended millions of

dollars annually in advertising, promoting and marketing featuring the Rimowa Trademarks.

Because of these and other factors, the Rimowa name and the Rimowa Trademarks have become

famous throughout the United States.

       14.    The Rimowa Trademarks are distinctive when applied to the Rimowa Products,

signifying to the purchaser that the products come from Rimowa and are manufactured to

Rimowa’s quality standards. Whether Rimowa manufactures the products itself or licenses

others to do so, Rimowa has ensured that products bearing its trademarks are manufactured to the

highest quality standards.   The Rimowa Trademarks have achieved tremendous fame and

recognition, which has only added to the distinctiveness of the marks. As such, the goodwill

associated with the Rimowa Trademarks is of incalculable and inestimable value to Rimowa.

       15.    Since at least as early as 1999, Rimowa has operated a website where it promotes

Rimowa Products at Rimowa.com. Rimowa Products are featured and described on the website

and are available for purchase. The Rimowa.com website features proprietary content, images,

and designs exclusive to Rimowa.




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        16.     Rimowa has expended substantial time, money, and other resources in

developing, advertising and otherwise promoting the Rimowa Trademarks. As a result, products

bearing the Rimowa Trademarks are widely recognized and exclusively associated by

consumers, the public, and the trade as being high quality products from Rimowa. Rimowa is a

multi-million dollar operation, and Rimowa Products have become among the most popular of

their kind in the world.

The Defendants

        17.     Defendants are individuals and business entities who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants

conduct business throughout the United States, including within the State of Illinois and this

Judicial District, through the operation of the fully interactive commercial websites and online

marketplaces operating under the Defendant Internet Stores. Each Defendant targets the United

States, including Illinois, and has offered to sell, and, on information and belief, has sold and

continues to sell Counterfeit Rimowa Products to consumers within the United States, including

the State of Illinois.

        18.     On information and belief, Defendants are an interrelated group of counterfeiters

working in active concert to knowingly and willfully manufacture, import, distribute, offer for

sale, and sell products using counterfeit versions of the Rimowa Trademarks in the same

transaction, occurrence, or series of transactions or occurrences. Tactics used by Defendants to

conceal their identities and the full scope of their counterfeiting operation make it virtually

impossible for Rimowa to learn Defendants’ true identities and the exact interworking of their

counterfeit network.       In the event that Defendants provide additional credible information

regarding their identities, Rimowa will take appropriate steps to amend the Complaint.



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                       IV. DEFENDANTS’ UNLAWFUL CONDUCT

       19.     The success of the Rimowa brand has resulted in its significant counterfeiting.

Consequently, Rimowa has a worldwide anti-counterfeiting program and regularly investigates

suspicious websites and online marketplace listings identified in proactive Internet sweeps and

reported by consumers. In recent years, Rimowa has identified many domain names linked to

fully interactive websites and marketplace listings on platforms such as iOffer, eBay,

AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, including the Defendant Internet Stores,

which were offering for sale and selling Counterfeit Rimowa Products to consumers in this

Judicial District and throughout the United States. Despite Rimowa’s enforcement efforts,

Defendants have persisted in creating the Defendant Internet Stores. Internet websites like the

Defendant Internet Stores are estimated to receive tens of millions of visits per year and to

generate over $135 billion in annual online sales. According to an intellectual property rights

seizures statistics report issued by Homeland Security, the manufacturer’s suggested retail price

(MSRP) of goods seized by the U.S. government in fiscal year 2014 was over $1.23 billion.

Internet websites like the Defendant Internet Stores are also estimated to contribute to tens of

thousands of lost jobs for legitimate businesses and broader economic damages such as lost tax

revenue every year.

       20.     Defendants facilitate sales by designing the Defendant Internet Stores so that they

appear to unknowing consumers to be authorized online retailers, outlet stores, or wholesalers.

Many of the Defendant Internet Stores look sophisticated and accept payment in U.S. dollars via

credit cards, Alipay, Amazon Pay, Western Union and/or PayPal. The Defendant Internet Stores

often include content and design elements that make it very difficult for consumers to distinguish

such counterfeit sites from an authorized retailer. Many Defendants further perpetuate the



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illusion of legitimacy by offering customer service and using indicia of authenticity and security

that consumers have come to associate with authorized retailers, including the Visa®,

MasterCard®, and/or PayPal® logos. Rimowa has not licensed or authorized Defendants to use

any of the Rimowa Trademarks, and none of the Defendants are authorized retailers of genuine

Rimowa Products.

       21.     Many Defendants also deceive unknowing consumers by using the Rimowa

Trademarks without authorization within the content, text, and/or meta tags of their websites in

order to attract various search engines crawling the Internet looking for websites relevant to

consumer searches for Rimowa Products. Additionally, upon information and belief, Defendants

use other unauthorized search engine optimization (SEO) tactics and social media spamming so

that the Defendant Internet Stores listings show up at or near the top of relevant search results

and misdirect consumers searching for genuine Rimowa Products. Other Defendants only show

the Rimowa Trademarks in product images while using strategic item titles and descriptions that

will trigger their listings when consumers are searching for Rimowa Products.

       22.     Defendants go to great lengths to conceal their identities and often use multiple

fictitious names and addresses to register and operate their network of Defendant Internet Stores.

For example, many of Defendants’ names and physical addresses used to register the Defendant

Domain Names are incomplete, contain randomly typed letters, or fail to include cities or states.

Other Defendant Domain Names use privacy services that conceal the owners’ identity and

contact information. On information and belief, Defendants regularly create new websites and

online marketplace accounts on various platforms using the identities listed in Schedule A to the

Complaint, as well as other unknown fictitious names and addresses. Such Defendant Internet

Store registration patterns are one of many common tactics used by the Defendants to conceal



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their identities, the full scope and interworking of their counterfeiting operation, and to avoid

being shut down.

       23.    Even though Defendants operate under multiple fictitious names, there are

numerous similarities among the Defendant Internet Stores.         For example, many of the

Defendant websites have virtually identical layouts, even though different aliases were used to

register the respective domain names. In addition, Counterfeit Rimowa Products for sale in the

Defendant Internet Stores bear similar irregularities and indicia of being counterfeit to one

another, suggesting that the Counterfeit Rimowa Products were manufactured by and come from

a common source and that Defendants are interrelated. The Defendant Internet Stores also

include other notable common features, including use of the same domain name registration

patterns, shopping cart platforms, accepted payment methods, check-out methods, meta data,

illegitimate SEO tactics, HTML user-defined variables, domain redirection, lack of contact

information, identically or similarly priced items and volume sales discounts, the same incorrect

grammar and misspellings, similar hosting services, similar name servers, and the use of the

same text and images, including content copied from Rimowa’s official Rimowa.com website.

       24.    In addition to operating under multiple fictitious names, Defendants in this case

and defendants in other similar cases against online counterfeiters use a variety of other common

tactics to evade enforcement efforts. For example, counterfeiters like Defendants will often

register new domain names or online marketplace accounts under new aliases once they receive

notice of a lawsuit. Counterfeiters also often move website hosting to rogue servers located

outside the United States once notice of a lawsuit is received. Rogue servers are notorious for

ignoring take down demands sent by brand owners. Counterfeiters also typically ship products




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in small quantities via international mail to minimize detection by U.S. Customs and Border

Protection.

       25.     Further, counterfeiters such as Defendants typically operate multiple credit card

merchant accounts and PayPal accounts behind layers of payment gateways so that they can

continue operation in spite of Rimowa’s enforcement efforts.         On information and belief,

Defendants maintain off-shore bank accounts and regularly move funds from their PayPal

accounts or other financial accounts to off-shore bank accounts outside the jurisdiction of this

Court. Indeed, analysis of PayPal transaction logs from previous similar cases indicates that off-

shore counterfeiters regularly move funds from U.S.-based PayPal accounts to China-based bank

accounts outside the jurisdiction of this Court.

       26.     Defendants, without any authorization or license from Rimowa, have knowingly

and willfully used and continue to use the Rimowa Trademarks in connection with the

advertisement, distribution, offering for sale, and sale of Counterfeit Rimowa Products into the

United States and Illinois over the Internet. Each Defendant Internet Store offers shipping to the

United States, including Illinois, and, on information and belief, each Defendant has sold

Counterfeit Rimowa Products into the United States, including Illinois.

       27.     Defendants’ use of the Rimowa Trademarks in connection with the advertising,

distribution, offering for sale, and sale of Counterfeit Rimowa Products, including the sale of

Counterfeit Rimowa Products into the United States, including Illinois, is likely to cause and has

caused confusion, mistake, and deception by and among consumers and is irreparably harming

Rimowa.




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                            COUNT I
     TRADEMARK INFRINGEMENT AND COUNTERFEITING (15 U.S.C. § 1114)

       28.    Rimowa hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 27.

       29.    This is a trademark infringement action against Defendants based on their

unauthorized use in commerce of counterfeit imitations of the federally registered Rimowa

Trademarks in connection with the sale, offering for sale, distribution, and/or advertising of

infringing goods. The Rimowa Trademarks are highly distinctive marks. Consumers have come

to expect the highest quality from Rimowa Products offered, sold or marketed under the Rimowa

Trademarks.

       30.    Defendants have sold, offered to sell, marketed, distributed, and advertised, and

are still selling, offering to sell, marketing, distributing, and advertising products using

counterfeit reproductions of the Rimowa Trademarks without Rimowa’s permission.

       31.    Rimowa is the exclusive owner of the Rimowa Trademarks. Rimowa’s United

States Registrations for the Rimowa Trademarks (Exhibit 1) are in full force and effect. Upon

information and belief, Defendants have knowledge of Rimowa’s rights in the Rimowa

Trademarks, and are willfully infringing and intentionally using counterfeits of the Rimowa

Trademarks. Defendants’ willful, intentional and unauthorized use of the Rimowa Trademarks is

likely to cause and is causing confusion, mistake, and deception as to the origin and quality of

the Counterfeit Rimowa Products among the general public.

       32.    Defendants’     activities   constitute   willful   trademark   infringement   and

counterfeiting under Section 32 of the Lanham Act, 15 U.S.C. § 1114.




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        33.    Rimowa has no adequate remedy at law, and if Defendants’ actions are not

enjoined, Rimowa will continue to suffer irreparable harm to its reputation and the goodwill of

its well-known Rimowa Trademarks.

        34.    The injuries and damages sustained by Rimowa have been directly and

proximately caused by Defendants’ wrongful reproduction, use, advertisement, promotion,

offering to sell, and sale of Counterfeit Rimowa Products.

                                  COUNT II
                 FALSE DESIGNATION OF ORIGIN (15 U.S.C. § 1125(a))

        35.    Rimowa hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 34.

        36.    Defendants’ promotion, marketing, offering for sale, and sale of Counterfeit

Rimowa Products has created and is creating a likelihood of confusion, mistake, and deception

among the general public as to the affiliation, connection, or association with Rimowa or the

origin, sponsorship, or approval of Defendants’ Counterfeit Rimowa Products by Rimowa.

        37.    By using the Rimowa Trademarks on the Counterfeit Rimowa Products,

Defendants create a false designation of origin and a misleading representation of fact as to the

origin and sponsorship of the Counterfeit Rimowa Products.

        38.    Defendants’ false designation of origin and misrepresentation of fact as to the

origin and/or sponsorship of the Counterfeit Rimowa Products to the general public involves the

use of counterfeit marks and is a willful violation of Section 43 of the Lanham Act, 15 U.S.C. §

1125.

        39.    Rimowa has no adequate remedy at law and, if Defendants’ actions are not

enjoined, Rimowa will continue to suffer irreparable harm to its reputation and the goodwill of

its Rimowa brand.

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                                COUNT III
    VIOLATION OF ILLINOIS UNIFORM DECEPTIVE TRADE PRACTICES ACT
                          (815 ILCS § 510, et seq.)

       40.      Rimowa hereby re-alleges and incorporates by reference the allegations set forth

in paragraphs 1 through 39.

       41.      Defendants have engaged in acts violating Illinois law including, but not limited

to, passing off their Counterfeit Rimowa Products as those of Rimowa, causing a likelihood of

confusion and/or misunderstanding as to the source of their goods, causing a likelihood of

confusion and/or misunderstanding as to an affiliation, connection, or association with genuine

Rimowa Products, representing that their products have Rimowa’s approval when they do not,

and engaging in other conduct which creates a likelihood of confusion or misunderstanding

among the public.

       42.      The foregoing Defendants’ acts constitute a willful violation of the Illinois

Uniform Deceptive Trade Practices Act, 815 ILCS § 510, et seq.

       43.      Rimowa has no adequate remedy at law, and Defendants’ conduct has caused

Rimowa to suffer damage to its reputation and goodwill. Unless enjoined by the Court, Rimowa

will suffer future irreparable harm as a direct result of Defendants’ unlawful activities.

                                     PRAYER FOR RELIEF

WHEREFORE, Rimowa prays for judgment against Defendants as follows:

1) That Defendants, their affiliates, officers, agents, servants, employees, attorneys,

   confederates, and all persons acting for, with, by, through, under or in active concert with

   them be temporarily, preliminarily, and permanently enjoined and restrained from:

       a. using the Rimowa Trademarks or any reproductions, counterfeit copies or colorable

             imitations thereof in any manner in connection with the distribution, marketing,



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          advertising, offering for sale, or sale of any product that is not a genuine Rimowa

          Product or is not authorized by Rimowa to be sold in connection with the Rimowa

          Trademarks;

       b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

          Rimowa Product or any other product produced by Rimowa, that is not Rimowa’s or

          not produced under the authorization, control, or supervision of Rimowa and

          approved by Rimowa for sale under the Rimowa Trademarks;

       c. committing any acts calculated to cause consumers to believe that Defendants’

          Counterfeit Rimowa Products are those sold under the authorization, control or

          supervision of Rimowa, or are sponsored by, approved by, or otherwise connected

          with Rimowa;

       d. further infringing the Rimowa Trademarks and damaging Rimowa’s goodwill; and

       e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

          moving, storing, distributing, returning, or otherwise disposing of, in any manner,

          products or inventory not manufactured by or for Rimowa, nor authorized by Rimowa

          to be sold or offered for sale, and which bear any of Rimowa’s trademarks, including

          the Rimowa Trademarks, or any reproductions, counterfeit copies or colorable

          imitations thereof;

2) Entry of an Order that, at Rimowa’s choosing, the registrant of the Defendant Domain Names

   shall be changed from the current registrant to Rimowa, and that the domain name registries

   for the Defendant Domain Names, including, but not limited to, VeriSign, Inc., Neustar, Inc.,

   Afilias Limited, CentralNic, Nominet, and the Public Interest Registry, shall unlock and

   change the registrar of record for the Defendant Domain Names to a registrar of Rimowa’s



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   selection, and that the domain name registrars, including, but not limited to, GoDaddy

   Operating     Company,      LLC     (“GoDaddy”),       Name.com,      PDR      LTD.     d/b/a

   PublicDomainRegistry.com (“PDR”), and Namecheap Inc. (“Namecheap”), shall take any

   steps necessary to transfer the Defendant Domain Names to a registrar account of Rimowa’s

   selection; or that the same domain name registries shall disable the Defendant Domain

   Names and make them inactive and untransferable;

3) Entry of an Order that, upon Rimowa’s request, those in privity with Defendants and those

   with notice of the injunction, including, without limitation, any online marketplace platforms

   such as iOffer, eBay, AliExpress, Alibaba, Amazon, Wish.com, and Dhgate, web hosts,

   sponsored search engine or ad-word providers, credit cards, banks, merchant account

   providers, third party processors and other payment processing service providers, Internet

   search engines such as Google, Bing, and Yahoo, and domain name registrars, including, but

   not limited to, GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party

   Providers”) shall:

       a. disable and cease providing services being used by Defendants, currently or in the

          future, to engage in the sale of goods using the Rimowa Trademarks;

       b. disable and cease displaying any advertisements used by or associated with

          Defendants in connection with the sale of counterfeit and infringing goods using the

          Rimowa Trademarks; and

       c. take all steps necessary to prevent links to the Defendant Domain Names identified

          on Schedule A from displaying in search results, including, but not limited to,

          removing links to the Defendant Domain Names from any search index;




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4) That Defendants account for and pay to Rimowa all profits realized by Defendants by reason

   of Defendants’ unlawful acts herein alleged, and that the amount of damages for

   infringement of the Rimowa Trademarks be increased by a sum not exceeding three times the

   amount thereof as provided by 15 U.S.C. § 1117;

5) In the alternative, that Rimowa be awarded statutory damages for willful trademark

   counterfeiting pursuant to 15 U.S.C. § 1117(c)(2) of $2,000,000 for each and every use of the

   Rimowa Trademarks;

6) That Rimowa be awarded its reasonable attorneys’ fees and costs; and

7) Award any and all other relief that this Court deems just and proper.

Dated this 22nd day of April 2019.           Respectfully submitted,


                                             /s/ Justin R. Gaudio/
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